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       CITY OF SANTA MONICA
  11
                                UNITED STATES DISTRICT COURT
  12
                              CENTRAL DISTRICT OF CALIFORNIA
  13
  14
  15   BARRY ROSEN, Individually and as a       Case No.        2:17-cv-07727 PSG(JEMx)
       Private Attorney General,
  16                                            DEFENDANT CITY OF SANTA
              Petitioner and Plaintiff,         MONICA’S OPPOSITION TO
  17                                            PLAINTIFF’S EX-PARTE
              v.                                APPLICATION FOR AN ORDER
  18                                            STRIKING MOTION TO DISMISS
       UNITED STATES GOVERNMENT,
  19   FEDERAL AVIATION
       ADMINISTRATION, AND CITY OF
  20   SANTA MONICA,
                                                Motion to Dismiss Hearing Date:
  21          Respondents and Defendants.       July 9, 2018
  22                                            Time: 1:30 p.m.
                                                Hon. Philip S. Gutierrez
  23                                            Courtroom: 6A
  24
                                                Third Amended Petition Filed:
  25                                            March 19, 2018
  26
  27
  28
                                              CITY’S OPPOSITION TO PLAINTIFF’S EX-PARTE APPLICATION
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                                                          FOR AN ORDER STRIKING MOTION TO DISMISS
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   1   I.     PLAINTIFF HAS BEEN SERVED WITH DEFENDANT’S MOTION
   2          IN ACCORDANCE WITH LOCAL RULE 6-1
   3          Plaintiff Barry Rosen’s Ex Parte Application for an order striking Defendant
   4   City of Santa Monica’s (“City”) Motion to Dismiss the Third Amended Petition
   5   (ECF No. 57) should be denied because Plaintiff has been served with the City’s
   6   motion papers in a manner consistent with this Court’s orders. Plaintiff is a pro-se
   7   litigant who is not a registered with the CM/ECF system. The manner for serving
   8   Plaintiff with the City’s motion, the hearing for which is currently set on the
   9   Court’s calendar for July 9, 2018, is provided by the Court’s Standing Order
  10   (“Standing Order”) (ECF No. 18). The Standing Order requires that “[m]otions be
  11   filed in accordance with Local Rules 6 and 7.” (Standing Order, pg. 3) Central
  12   District Local Rule 6-1 (Notice and Service of Motions) provides that:
  13
                   “The notice of motion shall be filed with the Clerk not later
  14
                   than twenty-eight (28) days before the date set for hearing, and
  15
                   shall be served on each of the parties electronically or, if
  16
                   excepted from electronic filing, either by deposit in the mail or
  17
                   by personal service. If mailed, the notice of motion shall be
  18
                   served not later than thirty-one (31) days before the Motion
  19
                   Day designated in the notice.” (L.R. 6-1) (emphasis added).
  20
  21
              The City has complied with L.R. 6-1. On May 8, 2018, the City served
  22
       Plaintiff in this matter, this time by way of certified U.S. Mail at his home address
  23
       of 136 South Clark Drive, No. 5, Los Angeles, CA 90048, with the following
  24
       documents:
  25
              1.      City of Santa Monica’s Notice of Motion and Motion to Dismiss
  26
                      Verified Third Amended Petition;
  27
              2.      City of Santa Monica’s Request for Judicial Notice in Support of
  28
       Case No. 2:17-cv-07727 PSG(JEMx)         1 CITY’S OPPOSITION TO PLAINTIFF’S EX-PARTE APPLICATION
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   1                  Motion to Dismiss Verified Third Amended Petition;
   2          3.      [Proposed] Order Granting Defendant City of Santa Monica’s Motion
   3                  to Dismiss Verified Third Amended Petition; and
   4          4.      Declaration of Ivan O. Campbell in Support of Defendant City of
   5                  Santa Monica’s Request for Judicial Notice. (See Declaration of Ivan
   6                  O. Campbell; see also ECF No. 71)
   7          The City’s service of its motion papers upon Plaintiff by U.S. Mail effects
   8   service on Plaintiff in accordance with Local Rule 6-1 and with the Court’s
   9   Standing Order. Plaintiff has been served far in advance of the current hearing date
  10   of July 9, 2018, and we are well outside of the 31-day notice requirement set forth
  11   in L.R. 6-1. (Id.)
  12          In addition to service by US mail, the City sent Plaintiff a courtesy copy of
  13   the City’s motion papers by email on April 23, 20181. (Campbell Decl., ¶ 2.)
  14   Although Plaintiff has not registered through the ECF system, Plaintiff has
  15   communicated with Defendants by email on multiple occasions. (Campbell Decl., ¶
  16   6)
  17          The next day, the City served Plaintiff by messenger delivery to Plaintiff’s
  18   residence on April 24, 2018. (Id; ECF Nos. 63, 70) The messenger’s declaration to
  19   the Court states that he first attempted to contact Plaintiff and then left the City’s
  20   motion papers at Plaintiff’s front door. (ECF No. 70; see also Doe v. Qi, 349
  21   F.Supp.2d 1258, 1275 (N.D. Cal. 2004) (court found sufficient service where the
  22   messenger made reasonable efforts to leave the papers with the party being served);
  23   1
         Plaintiff has stated that he is being advised and/or represented in this matter by
       attorney Gustavo Lamanna. (Campbell Declaration, ¶ 6.) Mr. Lamanna, who has
  24   not filed a notice of appearance with this Court, informed Defendant City by email
       that the City can communicate with himself and directly with Plaintiff for the
  25   purposes of negotiating stipulations and for meet and confer conferences under L.R.
       7-3. Id. Defendants regularly communicated with both Plaintiff and Mr. Lamanna
  26   by email for scheduling the conferences and for negotiating language for the
       stipulations. Id. The City regularly exchanged draft stipulation documents with both
  27   Plaintiff and Mr. Lamanna by email. Neither Plaintiff nor his attorney advisor have
       informed the City that they are unable to receive City’s documents by email.
  28
       Case No. 2:17-cv-07727 PSG(JEMx)        2 CITY’S OPPOSITION TO PLAINTIFF’S EX-PARTE APPLICATION
                                                              FOR AN ORDER STRIKING MOTION TO DISMISS
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   1   see also Ali v. Mid-Atlantic Settlement Services, Inc., 233 F.R.D. 32, 36 (D.C. Dist.
   2   Crt. 2006) (“…Personal service need not be face to face or hand to hand.”)
   3          Following the City’s mailing of the motion papers by US mail there is no
   4   longer any question of whether Plaintiff has been served in the manner consistent
   5   with the Court’s Standing Order. (ECF No. 71) The instant Ex-Parte Application
   6   requesting an order striking the City’s motion for lack of service is both premature
   7   (outside of 31 days and thus Plaintiff has not been prejudiced) and moot (City
   8   served Plaintiff by US mail) at the same time. As such the Application should be
   9   denied in its entirety because there is no basis justifying the extraordinary relief of
  10   an order striking the City’s motion, especially when the Application does not
  11   identify any harm or prejudice that Plaintiff has suffered. The Court’s Standing
  12   Order is clear on this point: “Ex parte applications are solely for extraordinary relief
  13   and should be used with discretion.” (Standing Order, pg. 8) Plaintiff’s lack of
  14   discretion by way of this Application—compounded by his disregard for
  15   Defendants’ and the Court’s time and resources—should not be rewarded by the
  16   granting of extraordinary relief.
  17
  18   II.    THE CITY IS IN FULL COMPLIANCE WITH THE COURT’S
  19          MARCH 21, 2018 ORDER
  20          It comes as no surprise to the City that Plaintiff’s Application rests entirely
  21   on his misconstruing of the Court’s order of March 21, 2018. The “Order to Amend
  22   Plaintiff’s Second Amended Petition” (“Order”) (ECF No. 55) states that the City
  23   “shall respond to Plaintiff’s Third Amended Petition, by motion or otherwise, on or
  24   before April 23, 2018.” The City did just that. The City responded per the Order’s
  25   instruction by filing its responsive pleading to the Petition on or before April 23,
  26   2018. The Order only required that the City choose how it wanted to appear in this
  27   matter and for it to make this choice before a certain date, which it did by way of its
  28   filing of a Rule 12 motion. The Order does not address service of the responsive
       Case No. 2:17-cv-07727 PSG(JEMx)        3 CITY’S OPPOSITION TO PLAINTIFF’S EX-PARTE APPLICATION
                                                              FOR AN ORDER STRIKING MOTION TO DISMISS
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   1   pleading. The Court’s Standing Order which “controls this case” does that.
   2   (Standing Order, pg. 1) Therefore the City’s service of its motion on Plaintiff in a
   3   manner that satisfies L.R. 6-1 should be sufficient.
   4          Plaintiff believes that the word “response”, as used in the Order, required that
   5   the City serve its motion on Plaintiff on or before April 23, 2018. (Ex-Parte
   6   Application, pg. 2) Plaintiff claims that because he was not served, there has been
   7   no “response” to his Petition and no appearance by Defendants and as such Plaintiff
   8   is entitled to default. (Id at 2-3) Plaintiff is incorrect. Plaintiff’s interpretation of the
   9   Order ignores the Court’s recent rejections of his earlier attempts to get a default
  10   judgment against both defendants in this case. The Court properly rejected
  11   Plaintiff’s Application for Entry of Default because responsive pleadings—or
  12   Defendants’ “response” to the Petition as required by the March 21, 2018 Order—
  13   had already been filed. (ECF Nos. 69, 55; see also Direct Mail Specialists, Inc. v.
  14   Eclat Computerized Technologies Inc., 840 F.2d 685, 689 (9th Cir. 1988) (default
  15   cannot be entered when the defendant has filed its response to the complaint
  16   because such a response indicates the defendant’s intent to defend the action.))
  17          The Court was correct to reject Plaintiff’s interpretation of its March 21,
  18   2018 Order when it declined to enter default against Defendants, and it would be
  19   correct again to reject Plaintiff’s Ex Parte Application. The Order required that
  20   Defendant City choose how it wanted to appear in this matter. (ECF No. 55) The
  21   City chose to appear by filing a Rule 12 motion, and the City’s choice of
  22   appearance was its “response” under that Order. (Id; see also Direct Mail, 840 F.2d
  23   at 689 (“Normally, an appearance in an action ‘involves some presentation or
  24   submission to the court.’… But because judgment by default are disfavored, ‘a
  25   court usually will try to find that there has been an appearance by defendant.’”)
  26
  27
  28
       Case No. 2:17-cv-07727 PSG(JEMx)          4 CITY’S OPPOSITION TO PLAINTIFF’S EX-PARTE APPLICATION
                                                                FOR AN ORDER STRIKING MOTION TO DISMISS
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   1   III.   THE COURT HAS THE DISCRETION TO EXTEND THE TIME
   2          REQUIRED FOR SERVICE ON PLAINTIFF
   3          If the Court were to find that Defendant City has not complied, or even
   4   substantially complied, with the March 21, 2018 Order, in its several attempts to
   5   serve Plaintiff with its motion papers, the Court has the discretion to modify its own
   6   Order to extend the time required for service on Plaintiff. There is good cause for
   7   such an order. And even if there were an absence of good cause the Court should
   8   still consider whether a permissive extension of time to serve Plaintiff is warranted
   9   under the equities of this case. See Panaras v. Liquid Carbonic Indus. Corp., 94
  10   F.3d 338, 341 (7th Cir. 1996); Espinoza v. United States, 52 F. 3d 838, 840 (10th Cir.
  11   1995).
  12          The equities of this case warrant denial of Plaintiff’s Ex Parte Application.
  13   Defendant City made several attempts to serve Plaintiff with its motion papers,
  14   finally doing so correctly on May 8, 2018. (ECF No. 71) Plaintiff has suffered no
  15   prejudice or any harm from being served with the City’s motion papers 63 days in
  16   advance of the July 9, 2018 hearing date. Generally, a motion is served at least 14
  17   days before the time specified for hearing. (F.R.C.P. Rule 6(c)) The Court’s
  18   Standing Order is more generous to the responding party by requiring service of the
  19   motion 31 days before the time specified for hearing. Plaintiff has more than double
  20   the time for notice of the City’s motion required by the Court’s Standing Order.
  21          Furthermore, Plaintiff has not litigated his claims against the City in good
  22   faith. Plaintiff twice attempted to get a default judgment in this matter and provided
  23   absolutely no notice to defense counsel. And now he seeks an order striking the
  24   City’s response to his Third Amended Petition despite the City agreeing several
  25   times to not oppose Plaintiff’s amendments to the Petition. (Campbell Decl. ¶ 8.)
  26
              Plaintiff is also currently being advised by an attorney that represented to
  27
       defense counsel that he was going to file in a substitution in the case but never did.
  28
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   1   (Id.) Instead, defense counsel and Plaintiff’s attorney advisor negotiated several
   2   stipulations and meet and confer conferences by way of email. (Id.) When defense
   3   counsel requested that the attorney advisor consent to service of the City’s motion
   4   and all other documents generated in this litigation by email, he has not responded
   5   to the City’s request. (Id.) Defendant City suspects that Plaintiff is more interested
   6   in preserving his ability to contest the City’s service of documents upon him. (Id.)
   7          Finally, granting Plaintiff’s Application will severely prejudice Defendant
   8   City. The City’s Rule 12 motion, which has been set for a date that works will all
   9   parties’ schedules, should be heard as noticed. The City will be irreparably
  10   prejudiced if this Application is granted and the City’s motion is struck.
  11
       Dated: May 8, 2018                  CITY OF SANTA MONICA
  12
  13
                                           By: /s/ Ivan O. Campbell
  14                                           IVAN O. CAMPBELL
  15                                            Attorneys for Defendant
                                                CITY OF SANTA MONICA
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       Case No. 2:17-cv-07727 PSG(JEMx)        6 CITY’S OPPOSITION TO PLAINTIFF’S EX-PARTE APPLICATION
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